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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
       Securities and Exchange Commission, :                        Civil Action No. 15-cv-06076 (MCA-MAH)
                                                                                     _______________
                            Plaintiff,     :
         v.                                :
                                           :
       Arkadiy Dubovoy, et al.
                                           :
                            Defendants.
                                          DISCLOSURE STATEMENT

                                           Copperstone Alpha Fund
         The undersigned counsel for________________________________________________,
         certifies that this party is a non-governmental corporate party and that:


G        This party’s parent corporation, and all publicly held corporations owning 10% or more
         of this party’s stock, are listed here:
         ______________________________________________________________________
         ______________________________________________________________________
         ______________________________________________________________________
         ______________________________________________________________________


                                                           OR
G
X        This party does not have a parent corporation, nor is there any publicly held corporation
         that owns 10% or more of this party’s stock.


    /s/ Margaret E. Hirce
_______________________________                                        Baker & Hostetler, LLP
                                                                    __________________________________
Signature of Attorney                                               Name of Firm

    Margaret E. Hirce
_______________________________                                       45 Rockefeller Plaza, Fl. 14
                                                                    __________________________________
Print Name                                                          Address

  12/22/2015
_______________                                                        New York, NY 10111
                                                                    ________________________________________
Date                                                                City/State/ZIP Code




Instructions:
1. Disclosure Statement is to be filed as a separate document.
2. Select Case Type (Civil) from the menu bar at the top of the ECF screen.
3. Click on Other Documents.
4. Select Corporate Disclosure Statement.
5. Enter the case for which the Disclosure Statement is being filed.
6. Select the PDF document to file.
7. Select the party filing the Disclosure Statement.
8. If applicable, insert the name of the Corporate Parent or leave blank.
9. Proofread the docket text.
10. Submit the Disclosure Statement by clicking the NEXT button.                         DNJ-CMECF-005 (5/2/08)
